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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x                                                  6/26/2024
In re

CUSTOMS AND TAX ADMINISTRATION OF THE
KINGDOM OF DENMARK (SKAT) TAX REFUND                                      18-md-2865 (LAK)
LITIGATION

This document applies to: Cases listed in Appendix A
-------------------------------------x


                               MEMORANDUM OPINION


                            Appearances:

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                                           Investments Pension Plan, Omineca Pension Plan,
                                           Omineca Trust, Remece Investments LLC Pension
                                           Plan, Starfish Capital Management LLC Roth 401(K)
                                           Plan, Tarvos Pension Plan, Voojo Productions LLC
                                           Roth 401(K) Plan, Xiphias LLC Pension Plan
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                                                                                                     2

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                                               Plan, RJM CapitalPension Plan, RJM Capital
                                               Pension Plan Trust, Routt Capital Pension Plan,
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                                               Consulting LLC 401K Plan


LEWIS A. KAPLAN, District Judge.

               Before the Court are two motions for the issuance of a request for international

judicial assistance, commonly termed a “letter rogatory.”1 For the reasons explained below, both

motions are denied.



                                                Facts

               This multidistrict litigation (“MDL”) includes more than one hundred actions brought

by the Customs and Tax Administration of the Kingdom of Denmark (“SKAT”) in a number of

districts throughout the country to recover funds allegedly obtained from it by fraud. SKAT alleges



       1

               Dkts 979, 983, 989. Unless otherwise noted, all docket citations are to 18-md-2865.
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                                                                                                         3

that the defendant pension plans and their agents and representatives engaged in a fraudulent tax

refund scheme or “trading strategy” whereby they “falsely represented that the plans owned shares

in Danish companies, that taxes had been withheld on the dividends, and as tax-exempt entities, they

were entitled to refunds.”2 SKAT alleges further that, in consequence of these false representations,

it paid to defendants over 12.7 billion Danish Kroner, the equivalent of approximately $2.1 billion

U.S. dollars, to which they had no legitimate claim.

               The Judicial Panel on Multidistrict Litigation transferred all of the cases brought by

SKAT in other districts to this Court.3 In a November 2021 pretrial order, the Court set a deadline

of December 3, 2021 for all fact discovery to be completed and a deadline of April 8, 2022 for all

expert discovery to be completed.4 The Court established also a procedure for motions for summary

judgment in seven “bellwether” cases. Among other things, the Court ordered that the bellwether

defendants and plaintiff file a joint Rule 56.1 statement of the material facts as to which there was

no genuine dispute.5 In that joint Rule 56.1 statement, which was filed in April 2022, the parties set

out, among other things, the mechanics of the trading strategy at the center of this case.6

Subsequently, the Court denied the bellwether defendants’ motion for summary judgment in a

       2

               Dkt 1 at 1.
       3

               Dkt 1. The fifty-three actions brought by SKAT in this district previously were consolidated
               for pretrial purposes. Dkt 924 at 5 & n.8 [In re Customs & Tax Admin. of the Kingdom of
               Denmark (SKAT) Tax Refund Litig., No. 18-cv-04051, 2023 WL 8039623, at *2 & n.8
               (S.D.N.Y. Nov. 20, 2023)].
       4

               Dkt 675.
       5

               Dkt 675.
       6

               Dkt 790.
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                                                                                                     4

November 2023 opinion.7

                Earlier this year, the Court issued a pretrial order selecting a subset of cases to be

tried in “Trial One.”8 The Court subsequently set a number of pretrial deadlines, including for

motions for summary judgment, and scheduled the trial to begin in January 2025.9

                Weeks after the Trial One scheduling order was issued, defendants filed the first of

the motions for discovery now before the Court. That motion, which SKAT joined conditionally,

sought issuance by this Court of a letter of request to obtain testimony from Sanjay Shah, a non-

party witness and the alleged progenitor of the fraudulent scheme, in Denmark pursuant to the

Hague Convention.10 Shah, an investment banker who, through his company Solo Capital, designed

and executed the trading strategy, is currently on trial for tax fraud in Denmark, to which he was

extradited from the United Arab Emirates (“UAE”) in December 2023.11 According to defendants,

Shah testified in his Danish trial “in his own defense and . . . his testimony included explanations

of the [t]rading [s]trategy.”12

                The Court held a pretrial conference to consider defendants’ motion and to seek



        7

                Dkt 924.
        8

                Dkt 961. Those cases are listed in Appendix A. Several of the bellwether defendants are
                defendants in Trial One.
        9

                Dkts 978, 987.
        10

                Dkts 979, 980, 981.
        11

                Dkt 984 at 2–3.
        12

                Dkt 984 at 3.
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clarification regarding several points. Among other things, the Court expressed its concern that,

should it issue the requested letter and Denmark act favorably upon it, a delay in taking Shah’s

testimony could be used by defendants to seek to delay the trial. Defendants declined to assure the

Court that they would commit to proceeding to trial as scheduled regardless of whether Shah’s

testimony was taken.13 The Court also advised defendants to clarify certain points in their motion

and to consider including in a revised letter of request a list of questions to be posed to Shah if the

Danish court questioned him instead of permitting the parties’ counsel to do so.14

               Thereafter, defendants filed a motion to amend/correct their motion for discovery.15

Though they stated that they had “no current intention of seeking to move the trial date” should they

be unable to take Shah’s testimony before the start of Trial One, they declined to “categorically

waive their right to do so.”16 In addition, defendants revised the proposed letter rogatory “to request

the opportunity to submit to the Danish Court a list of questions to be posed to Shah in the event the

examination is to be conducted by the Danish Court,” but they did not submit those questions to this

Court.17 SKAT opposed the motion.18 Subsequently, defendants submitted a list of questions for




       13

               Dkt 1008.
       14

               Dkt 1008.
       15

               Dkt 983.
       16

               Dkt 984 at 1.
       17

               Dkt 984 at 8.
       18

               Dkt 992.
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the Danish court to ask Shah, if necessary.19

               The day after defendants filed their motion to amend/correct, SKAT moved for this

Court to issue a letter of request to obtain testimony from Anthony Mark Patterson.20 Patterson, a

former employee of Shah and Solo Capital, recently pled guilty to criminal tax fraud in Denmark

for activity arising from his involvement with the allegedly fraudulent scheme. Plaintiff stated that

it “expects that Patterson will testify . . . that Shah and defendants’ ‘trading strategy’ was a

fraudulent scheme comprised of fictitious, circular transactions that did not result in the defendant

plans owning any Danish shares or receiving any dividends on Danish shares from which tax was

withheld.”21 This motion was made contingent upon the Court issuing defendants’ proposed letter

of request for Shah’s testimony.22 Defendants opposed SKAT’s motion.23



                                             Discussion

Legal Standard

               United States courts may request the assistance of a competent authority of another

nation in obtaining evidence.24 Such letters, “traditionally known as letters rogatory[,] are a medium


       19

               Dkt 1014.
       20

               Dkt 989.
       21

               Dkt 990 at 6.
       22

               Dkt 990 at 1.
       23

               Dkt 994.
       24

               See Fed. R. Civ. P. 28(b).
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for one country to speak through its courts to another, and request assistance to administer justice

in the former.”25

               The Hague Convention on the Taking of Evidence Abroad in Civil or Commercial

Matters (the “Hague Convention”), to which the United States is a signatory, prescribes certain

procedures by which a judicial authority in one signatory state may request the assistance of

another.26 Requests for assistance, however, are not limited to requests made to signatories of the

Hague Convention. “Absent a treaty, the request is made and usually granted by reason of

comity.”27 Authorities in receiving countries enforce letters rogatory pursuant to their own statutes,

common laws, and procedures.28 This means that the parties to the litigation for which the letter

rogatory was issued may not be allowed to question the witness themselves; rather, a court in the

receiving country may question the witness on the parties’ behalf.29




       25

               6 Moore’s Federal Practice § 28.12 (2024).
       26

               See Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482
               U.S. 522, 524 (1987).
       27

               6 Moore’s Federal Practice § 28.12 (2024). Similarly, requests made pursuant to the Hague
               Convention are usually — but not always — granted.
       28

               See Hague Convention on the Taking of Evidence Abroad in Civil or Commercial Matters,
               art. 9, Mar. 18, 1970, 23 U.S.T. 2555; Lantheus Med. Imaging, Inc. v. Zurich Am. Ins. Co.,
               841 F. Supp. 2d 769, 777 (S.D.N.Y. 2012).
       29

               See Mark R. Anderson, Stranger in a Strange Land: Discovery Abroad, 24 Litigation
               (1998).
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               “It is well settled that the decision of whether to issue letters rogatory lies within a

district court’s sound discretion.”30 In considering whether to issue a letter rogatory, “court[s]

consider[] the relevance and importance of the sought-after information and the delay issuing the

letter would cause.”31 “Although the party seeking” issuance of a letter rogatory “bears the burden

of persuasion, . . . that burden is not a heavy one.”32 This burden is heightened, however, where, as

here, discovery has closed. Although the Federal Rules of Civil Procedure permit — but do not

oblige — a court to reopen discovery, it may do so only “for good cause.”33 “Courts in this Circuit

generally consider six factors when determining whether a party has established good cause to

re-open discovery:”34

               “(1) whether trial is imminent, (2) whether the request is opposed, (3)

               whether the non-moving party would be prejudiced, (4) whether the

               moving party was diligent in obtaining discovery within the

               guidelines established by the court, (5) the foreseeability of the need

               for additional discovery in light of the time allowed for discovery by


       30

               United States v. Al Fawwaz, No. S7 98-cr-1023 (LAK), 2014 WL 627083, at *2 (S.D.N.Y.
               Feb. 18, 2014) (alteration marks omitted) (quoting United States v. Jefferson, 594 F.Supp.2d
               655, 675 (E.D. Va. 2009); accord Villella v. Chem. & Mining Co. of Chile Inc., No. 15-cv-
               2106 (ER), 2018 WL 2958361, at *2 (S.D.N.Y. June 13, 2018); 6 Moore’s Federal Practice
               § 28.12 (2024).
       31

               6 Moore’s Federal Practice § 28.12 (2024); see Villella, 2018 WL 2958361, at *3.
       32

               Villella, 2018 WL 2958361, at *3.
       33

               Fed R. Civ. P. 16(b)(4).
       34

               Costa v. Sears Home Improvement Prod., Inc., 178 F. Supp. 3d 108, 111 n.2 (W.D.N.Y.
               2016).
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               the district court, and (6) the likelihood that the discovery will lead

               to relevant evidence.”35



Application

               The testimony defendants seek from Shah would be of little value but seeking to

secure it at this late date would pose a considerable risk to the timely conduct of Trial One and thus

to the overall progress of this MDL.

               Based on defendants’ representations and their proposed questions, it appears that

many subjects on which Shah would testify would be cumulative of other evidence and witnesses

available in the United States. Defendants state that “[t]estimony from Shah may help the jury

understand . . . . the [t]rading [s]trategy” and its “execut[ion].”36 But the joint Rule 56.1 statement

— to which plaintiff and many of the defendants in Trial One joined — sets out the mechanics and

execution of the trading strategy in considerable detail. Among other things, it explains SKAT’s

administration of dividend withholding, how the trading strategy worked, specific trades that

defendants made, defendants’ tax reclaim applications, and SKAT’s approval and subsequent

revocation of those reclaims.37 The Court concludes, therefore, that there is sufficient evidence aside

from Shah’s testimony regarding the trading strategy and its execution such that introducing Shah’s

potential testimony at Trial One would be unlikely to add materially to the jury’s understanding of

       35

               Fed. Ins. Co. v. Mertz, No. 12-cv-1597 (NSR), 2015 WL 5769945, at *7 (S.D.N.Y. Sept.
               29, 2015); see Jacobs v. New York City Dep’t of Educ., No. 11-cv-5058, 2015 WL 7568642,
               at *4 (E.D.N.Y. Nov. 24, 2015); Costa, 178 F. Supp. 3d at 111 n.2.
       36

               Dkt 984 at 7.
       37

               Dkt 790.
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                                                                                                         10

these topics.

                Defendants state also that Shah’s testimony “may also help illuminate what [they]

knew about the [t]rading [s]trategy . . . . explaining what information was (and was not) shared with

[them].”38 But it is likely that defendants themselves could testify to what Shah told them, and they

are, generally speaking, available in the United States.39 Although the Court cannot and does not

prejudge the admissibility of hypothetical testimony, it notes that such testimony from defendants

— regarding what Shah told them, the impressions with which they were left from their

conversations with Shah, and related subjects — may be admissible as non-hearsay.40

                In addition, issuing the letter rogatory for Shah’s testimony would risk delaying Trial

One, which is scheduled to begin in about six months. It is unclear whether and when Danish

authorities might permit defendants to take Shah’s testimony were this Court to request it. It is

unclear also how the pendency of Shah’s criminal trial in Denmark might affect the timing of Danish

authorities’ decision whether to act favorably upon the requested letter rogatory or how, should they

act favorably, the Danish criminal proceeding might affect the timing of Shah’s testimony in this

case. And should a Danish court decide to question Shah in lieu of permitting the parties’ counsel

to do so, further delay is possible should either of the parties seek to submit additional questions.

Concern over a months- or even years-long delay is not unfounded. Moore’s cautions that


       38

                Dkt 984 at 8.
       39

                See United States v. Rosen, 240 F.R.D. 204, 215 (E.D. Va. 2007) (the fact that “proffered
                testimony . . . is . . . cumulative of other testimony from witnesses available in the U.S.”
                “counsel[s] against the issuance of letters rogatory”).
       40

                See United States v. Dupree, 706 F.3d 131, 136 (2d Cir. 2013) (“[A] statement offered to
                show its effect on the listener is not hearsay.”).
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                                                                                                             11

“discovery through [letters rogatory] can be a very lengthy process . . . . Execution of letters may

take from six months to one year, or even longer.”41 Even if Shah’s testimony were secured

expeditiously, there would be no assurance that delay would not result if, for example, his testimony

were to prompt one of the parties to seek additional discovery. The Court is particularly averse to

risking delay in this case, which already has been pending for more than six years, absent an

unforseen and compelling justification, because the upcoming trial would be only the first of what

may prove to be several trials in this MDL, and any delay to it is likely to have knock-on effects for

subsequent trials, should they prove necessary.

               Defendants attempt to excuse their delay in seeking Shah’s testimony on the ground

that he was inaccessible to them “during the discovery phase of this litigation because he resided

in the United Arab Emirates, a non-signatory to the Hague Convention.”42 This excuse is

unpersuasive. Execution of the Hague Convention is not a prerequisite to the issuance or honoring

of a letter rogatory.43 The letter rogatory is a centuries-old judicial vehicle that predates the Hague

Convention, and they continue to be issued and honored outside the framework established by that

treaty.44 As one magistrate judge in this district observed, “the [Hague] Convention was drafted to


       41

               6 Moore’s Federal Practice § 28.12 (2024).
       42

               Dkt 984 at 2.
       43

               See 6 Moore’s Federal Practice § 28.12 (2024); 35A C.J.S. Federal Civil Procedure § 615
               (“The execution of a letter rogatory in the first instance rests upon principles of international
               comity.”).
       44

               See Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004) (citing Act of
               Mar. 2, 1855, ch. 140, § 2, 10 Stat. 630, and Act of Mar. 3, 1863, ch. 95, § 1, 12 Stat. 769);
               David Rubinstein, Judicial Assistance As Intended: Reconciling § 1782’s Present Practice
               with Its Past, 123 Colum. L. Rev. 513, 518–522 (2023).
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                                                                                                         12

expand and liberalize the previously available avenues for discovery, not to constrict them or limit

the jurisdiction of the courts of the signatory states.”45 Thus, even where no treaty obliges a state

to honor requests for judicial assistance, such requests are “usually granted by reason of comity.”46

Moreover, while defendants claim that the UAE is “a nation adverse to facilitating foreign discovery

through the letters rogatory process,”47 they do not dispute that the UAE “executed a letter rogatory

issued by a U.S. court . . . in March 2021, i.e., more than eight months before discovery closed in

these actions.”48 In addition, defendants could have sought Shah’s voluntary testimony, but it does

not appear that they made any effort to do so. Putting that aside, even if Shah were inaccessible to

defendants while in the UAE, defendants nonetheless would be responsible for an unwarranted delay

in seeking the letter rogatory in light of the fact that Shah was extradited to Denmark, a Hague

Convention signatory, in December 2023, several months before defendants sought his testimony

in this case.



                                               Conclusion

                For the foregoing reasons, defendants’ motion for issuance of a request for

international judicial assistance to obtain evidence from Shah (Dkts 979, 983) is denied.



        45

                Int’l Soc. for Krishna Consciousness, Inc. v. Lee, 105 F.R.D. 435, 445 (S.D.N.Y. 1984).
        46

                6 Moore’s Federal Practice § 28.12 (2024); see, e.g., United States v. Lopez, 688 F. Supp.
                92, 95 (E.D.N.Y. 1988) (sending request for international judicial assistance to appropriate
                authority in Uruguay, a non-signatory of Hague Convention).
        47

                Dkt 984 at 2.
        48

                Dkt 990 at 7.
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                                      APPENDIX A




        Case Name & Number             Defendants Included     Defendants Excluded
                                         in Trial Proposal     from Trial Proposal
1   Skatteforvaltningen v. Aerovane    Michael Ben-Jacob,
    Logistics LLC Roth 401K Plan,      Robert Klugman, and
    Robert Klugman, and Michael        Aerovane Logistics
    Ben-Jacob, Case No. 18-cv-         LLC Roth 401K Plan
    07828-LAK (S.D.N.Y.)
2   Skatteforvaltningen v. Albedo      Michael Ben-Jacob,    Joseph Herman and
    Management LLC Roth 401(K)         Robert Klugman,       Albedo Management LLC
    Plan, Joseph Herman, Michael       Richard Markowitz,    Roth 401(K) Plan
    Ben-Jacob, Avanix Management       Avanix Management
    LLC, RAK Investment Trust,         LLC, and RAK
    Richard Markowitz, and Robert      Investment Trust
    Klugman, Case No. 19-cv-01785-
    LAK (S.D.N.Y.)
3   Skatteforvaltningen v. Avanix      Michael Ben-Jacob,
    Management LLC Roth 401K           Richard Markowitz,
    Plan, Richard Markowitz, and       and Avanix
    Michael Ben-Jacob, Case No. 19-    Management LLC
    cv-01867-LAK (S.D.N.Y.)            Roth 401K Plan
4   Skatteforvaltningen v. Azalea      Elizabeth van
    Pension Plan and Elizabeth van     Merkensteijn and
    Merkensteijn, Case No. 19-cv-      Azalea Pension Plan
    01893-LAK (S.D.N.Y.)
5   Skatteforvaltningen v. Ballast     Michael Ben-Jacob,    Joseph Herman and Ballast
    Ventures LLC Roth 401(K) Plan,     Robert Klugman,       Ventures LLC Roth
    Joseph Herman, Michael Ben-        Richard Markowitz,    401(K) Plan
    Jacob, Cavus Systems LLC, RAK      Cavus Systems LLC,
    Investment Trust, Richard          and RAK Investment
    Markowitz, and Robert Klugman,     Trust
    Case No. 19-cv-01781-LAK
    (S.D.N.Y.)
6   Skatteforvaltningen v. Bareroot    Michael Ben-Jacob,    David Zelman and
    Capital Investments LLC Roth       Robert Klugman,       Bareroot Capital
    401(K) Plan, David Zelman,         Richard Markowitz,    Investments LLC Roth
    Michael Ben-Jacob, RAK             RAK Investment        401(K) Plan
    Investment Trust, Routt Capital    Trust, and Routt
    Trust, Richard Markowitz, and      Capital Trust
    Robert Klugman, Case No. 19-cv-
    01783-LAK (S.D.N.Y.)




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          Case Name & Number             Defendants Included       Defendants Excluded
                                           in Trial Proposal       from Trial Proposal
7    Skatteforvaltningen v. Basalt       Michael Ben-Jacob,
     Ventures LLC Roth 401(K) Plan,      John van
     John van Merkensteijn, and          Merkensteijn, and
     Michael Ben-Jacob, Case No. 19-     Basalt Ventures LLC
     cv-01866-LAK (S.D.N.Y.)             Roth 401(K) Plan
8    Skatteforvaltningen v. Batavia      Richard Markowitz
     Capital Pension Plan and Richard    and Batavia Capital
     Markowitz, Case No. 19-cv-          Pension Plan
     01895-LAK (S.D.N.Y.)
9    Skatteforvaltningen v. Battu        Michael Ben-Jacob,   David Zelman and Battu
     Holdings LLC Roth 401K Plan,        Robert A. Klugman,   Holdings LLC Roth 401K
     David Zelman, Michael Ben-          John van             Plan
     Jacob, Omineca Trust, John van      Merkensteijn,
     Merkensteijn, RAK Investment        Omineca Trust, and
     Trust, and Robert A. Klugman,       RAK Investment Trust
     Case No. 19-cv-01794-LAK
     (S.D.N.Y.)
10   Skatteforvaltningen v. Bernina      John van Merkensteijn
     Pension Plan and John van           and Bernina Pension
     Merkensteijn, Case No. 19-cv-       Plan
     01865-LAK (S.D.N.Y.)
11   Skatteforvaltningen v. Calypso      Jocelyn Markowitz,
     Investments Pension Plan, and       and Calypso
     Jocelyn Markowitz, Case No. 19-     Investments Pension
     cv-01904-LAK (S.D.N.Y.)             Plan
12   Skatteforvaltningen v. Cantata      Michael Ben-Jacob,   David Zelman and Cantata
     Industries LLC Roth 401(K) Plan,    Robert Klugman, John Industries LLC Roth
     David Zelman, Michael Ben-          van Merkensteijn,    401(K) Plan
     Jacob, John van Merkensteijn,       Omineca Trust, and
     RAK Investment Trust, Omineca       RAK Investment Trust
     Trust, and Robert Klugman, Case
     No. 19-cv-01798-LAK (S.D.N.Y.)
13   Skatteforvaltningen v. Cavus        Michael Ben-Jacob,
     Systems LLC Roth 401(K) Plan,       Richard Markowitz,
     Richard Markowitz, and Michael      and Cavus Systems
     Ben-Jacob, Case No. 19-cv-          LLC Roth 401(K)
     01869-LAK (S.D.N.Y.)                Plan
14   Skatteforvaltningen v. Cedar Hill   Michael Ben-Jacob,      Edwin Miller and Cedar
     Capital Investments LLC Roth        Robert Klugman,         Hill Capital Investments
     401(K) Plan, Edwin Miller,          Richard Markowitz,      LLC Roth 401(K) Plan
     Michael Ben-Jacob, RAK              RAK Investment
     Investment Trust, Routt Capital     Trust, and Routt
     Trust, Richard Markowitz, and       Capital Trust
     Robert Klugman, Case No. 19-cv-
     01922-LAK (S.D.N.Y.)


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         Case Name & Number              Defendants Included    Defendants Excluded
                                           in Trial Proposal     from Trial Proposal
15 Skatteforvaltningen v. Crucible       Michael Ben-Jacob,   Ronald Altbach and
   Ventures LLC Roth 401(K) Plan,        Robert Klugman, John Crucible Ventures LLC
   Ronald Altbach, Michael Ben-          van Merkensteijn,    Roth 401(K) Plan
   Jacob, John van Merkensteijn,         Omineca Trust, and
   RAK Investment Trust, Omineca         RAK Investment Trust
   Trust, and Robert Klugman, Case
   No. 19-cv-01800-LAK (S.D.N.Y.)
16 Skatteforvaltningen v. Dicot          Michael Ben-Jacob,   David Zelman and Dicot
   Technologies LLC Roth 401(K)          Robert Klugman, John Technologies LLC Roth
   Plan, David Zelman, Michael Ben-      van Merkensteijn,    401(K) Plan
   Jacob, John van Merkensteijn,         Omineca Trust, and
   Omineca Trust, RAK Investment         RAK Investment Trust
   Trust, and Robert Klugman, Case
   No. 19-cv-01788-LAK (S.D.N.Y.)
17 Skatteforvaltningen v. Eclouge        Michael Ben-Jacob,   Perry Lerner and Eclouge
   Industry LLC Roth 401(K) Plan,        Robert Klugman,      Industry LLC Roth 401(K)
   Perry Lerner, Michael Ben-Jacob,      Richard Markowitz,   Plan
   RAK Investment Trust, Routt           RAK Investment
   Capital Trust, Richard Markowitz,     Trust, and Routt
   and Robert Klugman, Case No.          Capital Trust
   19-cv-01870-LAK (S.D.N.Y.)
18 Skatteforvaltningen v. Edgepoint      Michael Ben-Jacob,
   Capital LLC Roth 401K Plan,           Robert Klugman,
   Robert Klugman, and Michael           Edgepoint Capital
   Ben-Jacob, Case No. 18-cv-            LLC Roth 401K Plan
   07827-LAK (S.D.N.Y.)
19 Skatteforvaltningen v. Fairlie        Michael Ben-Jacob,   Joseph Herman and Fairlie
   Investments LLC Roth 401(K)           Robert Klugman,      Investments LLC Roth
   Plan, Joseph Herman, Michael          Richard Markowitz,   401(K) Plan
   Ben-Jacob, Hadron Industries          Hadron Industries
   LLC, RAK Investment Trust,            LLC, and RAK
   Richard Markowitz, and Robert         Investment Trust
   Klugman, Case No. 19-cv-01791-
   LAK (S.D.N.Y.)
20 Skatteforvaltningen v. First Ascent   Michael Ben-Jacob,   Perry Lerner and First
   Worldwide LLC Roth 401(K) Plan,       Robert Klugman,      Ascent Worldwide LLC
   Perry Lerner, Michael Ben-Jacob,      Richard Markowitz,   Roth 401(K) Plan
   RAK Investment Trust, Routt           RAK Investment
   Capital Trust, Robert Klugman,        Trust, and Routt
   and Richard Markowitz, Case No.       Capital Trust
   19-cv-01792-LAK (S.D.N.Y.)




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         Case Name & Number             Defendants Included       Defendants Excluded
                                          in Trial Proposal        from Trial Proposal
21 Skatteforvaltningen v. Fulcrum       Michael Ben-Jacob,      Edwin Miller and Fulcrum
   Productions LLC Roth 401(K)          Robert Klugman, John    Productions LLC Roth
   Plan, Edwin Miller, Michael Ben-     van Merkensteijn,       401(K) Plan
   Jacob, RAK Investment Trust,         Omineca Trust, and
   Robert Klugman, John van             RAK Investment
   Merkensteijn, and Omineca Trust,     Trust,
   Case No. 19-cv-01928-LAK
   (S.D.N.Y.)
22 Skatteforvaltningen v. Green Scale   Michael Ben-Jacob,      Edwin Miller and Green
   Management LLC Roth 401(K)           Robert Klugman,         Scale Management LLC
   Plan, Edwin Miller, Michael Ben-     Richard Markowitz,      Roth 401(K) Plan
   Jacob, RAK Investment Trust,         RAK Investment
   Routt Capital Trust, Robert          Trust, and Routt
   Klugman, and Richard Markowitz,      Capital Trust
   Case No. 19-cv-01926-LAK
   (S.D.N.Y.)
23 Skatteforvaltningen v. Hadron        Michael Ben-Jacob,
   Industries LLC Roth 401(K) Plan,     Richard Markowitz,
   Richard Markowitz, and Michael       and Hadron Industries
   Ben-Jacob, Case No. 19-cv-           LLC Roth 401(K)
   01868-LAK (S.D.N.Y.)                 Plan
24 Skatteforvaltningen v. Headsail      Michael Ben-Jacob,
   Manufacturing LLC Roth 401K          Robert Klugman, and
   Plan, Robert Klugman, and            Headsail
   Michael Ben-Jacob, Case No. 18-      Manufacturing LLC
   cv-07824-LAK (S.D.N.Y.)              Roth 401K Plan
25 Skatteforvaltningen v. Keystone      Michael Ben-Jacob,      Edwin Miller and
   Technologies LLC Roth 401(K)         Robert Klugman,         Keystone Technologies
   Plan, Edwin Miller, Michael Ben-     Richard Markowitz,      LLC Roth 401(K) Plan
   Jacob, RAK Investment Trust,         RAK Investment
   Robert Klugman, Routt Capital        Trust, and Routt
   Trust, and Richard Markowitz,        Capital Trust
   Case No. 19-cv-01929-LAK
   (S.D.N.Y.)
26 Skatteforvaltningen v. Limelight     Michael Ben-Jacob,      Ronald Altbach and
   Global Productions LLC Roth          Robert Klugman, John    Limelight Global
   401(K) Plan, Ronald Altbach,         van Merkensteijn,       Productions LLC Roth
   Michael Ben-Jacob, Robert            Omineca Trust, and      401(K) Plan
   Klugman, RAK Investment Trust,       RAK Investment Trust
   Omineca Trust, and John van
   Merkensteijn, Case No. 19-cv-
   01803-LAK (S.D.N.Y.)




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         Case Name & Number            Defendants Included      Defendants Excluded
                                         in Trial Proposal       from Trial Proposal
27 Skatteforvaltningen v. Loggerhead   Michael Ben-Jacob,     Perry Lerner and
   Services LLC Roth 401(K) Plan,      Robert Klugman,        Loggerhead Services LLC
   Perry Lerner, Michael Ben-Jacob,    Richard Markowitz,     Roth 401(K) Plan
   RAK Investment Trust, Richard       RAK Investment
   Markowitz, Robert Klugman, and      Trust, and Routt
   Routt Capital Trust, Case No. 19-   Capital Trust
   cv-01806-LAK (S.D.N.Y.)
28 Skatteforvaltningen v. Michelle     Richard Markowitz,
   Investments Pension Plan, John      John van
   van Merkensteijn, and Richard       Merkensteijn, and
   Markowitz, Case No. 19-cv-          Michelle Investments
   01906-LAK (S.D.N.Y.)                Pension Plan
29 Skatteforvaltningen v. Monomer      Michael Ben-Jacob,   Robin Jones and Monomer
   Industries LLC Roth 401(K) Plan,    Robert Klugman, John Industries LLC Roth
   Robin Jones, Michael Ben-Jacob,     van Merkensteijn,    401(K) Plan
   John van Merkensteijn, Omineca      Omineca Trust, and
   Trust, RAK Investment Trust, and    RAK Investment Trust
   Robert Klugman, Case No. 19-cv-
   01801-LAK (S.D.N.Y.)
30 Skatteforvaltningen v. Omineca      Michael Ben-Jacob,
   Pension Plan, John van              John van
   Merkensteijn, and Michael Ben-      Merkensteijn, and
   Jacob, Case No. 19-cv-01894-        Omineca Pension Plan
   LAK (S.D.N.Y.)
31 Skatteforvaltningen v. PAB          Michael Ben-Jacob,     Perry Lerner and PAB
   Facilities Global LLC Roth          Robert Klugman,        Facilities Global LLC Roth
   401(K) Plan, Perry Lerner,          Richard Markowitz,     401(K) Plan
   Michael Ben-Jacob, RAK              RAK Investment
   Investment Trust, Richard           Trust, and Routt
   Markowitz, Robert Klugman, and      Capital Trust
   Routt Capital Trust, Case No. 19-
   cv-01808-LAK (S.D.N.Y.)
32 Skatteforvaltningen v. Pinax        Michael Ben-Jacob,   Robin Jones and Pinax
   Holdings LLC Roth 401(K) Plan,      Robert Klugman, John Holdings LLC Roth
   Robin Jones, Michael Ben-Jacob,     van Merkensteijn,    401(K) Plan
   John van Merkensteijn, Omineca      Omineca Trust, and
   Trust, RAK Investment Trust, and    RAK Investment Trust
   Robert Klugman, Case No. 19-cv-
   01810-LAK (S.D.N.Y.)
33 Skatteforvaltningen v. Plumrose     Michael Ben-Jacob,   Ronald Altbach and
   Industries LLC Roth 401K Plan,      Robert Klugman, John Plumrose Industries LLC
   Ronald Altbach, Michael Ben-        van Merkensteijn,    Roth 401K Plan
   Jacob, John van Merkensteijn,       Omineca Trust, and
   Omineca Trust, RAK Investment       RAK Investment Trust
   Trust, and Robert Klugman, Case
   No. 19-cv-01809-LAK (S.D.N.Y.)

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          Case Name & Number             Defendants Included      Defendants Excluded
                                           in Trial Proposal       from Trial Proposal
34   Skatteforvaltningen v. Raubritter   Richard Markowitz      Seth Whitaker (as Personal
     LLC Pension Plan, Adam LaRosa and John van                 Representative of the
     (previously voluntarily dismissed), Merkensteijn           Estate of Alexander C.
     Richard Markowitz, John van                                Burns) and Raubritter LLC
     Merkensteijn, and Seth Whitaker                            Pension Plan
     (as Personal Representative of the
     Estate of Alexander C. Burns),
     Case No. 18-cv-04833-LAK
     (S.D.N.Y.)
35   Skatteforvaltningen v. Remece       Richard Markowitz,
     Investments LLC Pension Plan,       John van
     John van Merkensteijn, and          Merkensteijn, and
     Richard Markowitz, Case No. 19- Remece Investments
     cv-01911-LAK (S.D.N.Y.)             LLC Pension Plan
36   Skatteforvaltningen v. RJM          Richard Markowitz
     Capital Pension Plan and Richard and RJM Capital
     Markowitz, Case No. 19-cv-          Pension Plan
     01898-LAK (S.D.N.Y.)
37   Skatteforvaltningen v. Roadcraft    Michael Ben-Jacob,     Ronald Altbach and
     Technologies LLC Roth 401(K)        Robert Klugman,        Roadcraft Technologies
     Plan, Ronald Altbach, Michael       Richard Markowitz,     LLC Roth 401(K) Plan
     Ben-Jacob, RAK Investment Trust, RAK Investment
     Richard Markowitz, Robert           Trust, and Routt
     Klugman, and Routt Capital Trust, Capital Trust
     Case No. 19-cv-01812-LAK
     (S.D.N.Y.)
38   Skatteforvaltningen v. Routt        Michael Ben-Jacob,
     Capital Pension Plan, Richard       Richard Markowitz,
     Markowitz, and Michael Ben-         and Routt Capital
     Jacob, Case No. 19-cv-01896-        Pension Plan
     LAK (S.D.N.Y.)
39   Skatteforvaltningen v. Starfish     Michael Ben-Jacob,
     Capital Management LLC Roth         John van
     401(K) Plan, John van               Merkensteijn, and
     Merkensteijn, and Michael Ben-      Starfish Capital
     Jacob, Case No. 19-cv-01871-        Management LLC
     LAK (S.D.N.Y.)                      Roth 401(K) Plan
40   Skatteforvaltningen v. Sternway     Michael Ben-Jacob,     Robin Jones and Sternway
     Logistics LLC Roth 401(K) Plan,     Robert Klugman, John   Logistics LLC Roth
     Robin Jones, Michael Ben-Jacob, van Merkensteijn,          401(K) Plan
     John van Merkensteijn, Omineca      Omineca Trust, and
     Trust, RAK Investment Trust, and RAK Investment Trust
     Robert Klugman, Case No. 19-cv-
     01813-LAK (S.D.N.Y.)



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         Case Name & Number            Defendants Included       Defendants Excluded
                                         in Trial Proposal       from Trial Proposal
41 Skatteforvaltningen v. Tarvos       John van Merkensteijn
   Pension Plan and John van           and Tarvos Pension
   Merkensteijn, Case No. 19-cv-       Plan
   01930-LAK (S.D.N.Y.)
42 Skatteforvaltningen v. Random       Michael Ben-Jacob,
   Holdings 401K Plan, Robert          Robert Klugman, and
   Klugman, and Michael Ben-Jacob,     Random Holdings
   Case No. 18-cv-07829-LAK            401K Plan
   (S.D.N.Y.)
43 Skatteforvaltningen v. The Stor     Michael Ben-Jacob,
   Capital Consulting LLC 401K         Robert Klugman, and
   Plan, Michael Ben-Jacob, and        The Stor Capital
   Robert Klugman, Case No. 18-cv-     Consulting LLC 401K
   04434-LAK (S.D.N.Y.)                Plan
44 Skatteforvaltningen v. Trailing     Michael Ben-Jacob,      Perry Lerner and Trailing
   Edge Productions LLC Roth           Robert Klugman,         Edge Productions LLC
   401(K) Plan, Perry Lerner,          Richard Markowitz,      Roth 401(K) Plan
   Michael Ben-Jacob, RAK              RAK Investment
   Investment Trust, Richard           Trust, and Routt
   Markowitz, Robert Klugman, and      Capital Trust
   Routt Capital Trust, Case No. 19-
   cv-01815-LAK (S.D.N.Y.)
45 Skatteforvaltningen v. True Wind    Michael Ben-Jacob,   Ronald Altbach and True
   Investments LLC Roth 401(K)         Robert Klugman, John Wind Investments LLC
   Plan, Ronald Altbach, Michael       van Merkensteijn,    Roth 401(K) Plan
   Ben-Jacob, John van                 Omineca Trust, and
   Merkensteijn, Omineca Trust,        RAK Investment Trust
   RAK Investment Trust, and Robert
   Klugman, Case No. 19-cv-01818-
   LAK (S.D.N.Y.)
46 Skatteforvaltningen v. Tumba        Michael Ben-Jacob,   Edwin Miller and Tumba
   Systems LLC Roth 401(K) Plan,       Robert Klugman, John Systems LLC Roth 401(K)
   Edwin Miller, Michael Ben-Jacob,    van Merkensteijn,    Plan
   John van Merkensteijn, Omineca      Omineca Trust, and
   Trust, RAK Investment Trust, and    RAK Investment Trust
   Robert Klugman, Case No. 19-cv-
   01931-LAK (S.D.N.Y.)
47 Skatteforvaltningen v. Vanderlee    Michael Ben-Jacob,      David Zelman, Vanderlee
   Technologies Pension Plan, David    Robert Klugman, John    Technologies Pension
   Zelman, Michael Ben-Jacob, John     van Merkensteijn,       Plan, and Vanderlee
   van Merkensteijn, Omineca Trust,    Omineca Trust, and      Technologies Pension Plan
   RAK Investment Trust, Robert        RAK Investment Trust    Trust
   Klugman, and Vanderlee
   Technologies Pension Plan Trust,
   Case No. 19-cv-01918-LAK
   (S.D.N.Y.)

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         Case Name & Number           Defendants Included       Defendants Excluded
                                        in Trial Proposal       from Trial Proposal
48 Skatteforvaltningen v. Voojo       Michael Ben-Jacob,
   Productions LLC Roth 401(K)        John van
   Plan, John van Merkensteijn, and   Merkensteijn, and
   Michael Ben-Jacob, Case No. 19-    Voojo Productions
   cv-01873-LAK (S.D.N.Y.)            LLC Roth 401(K)
                                      Plan
49 Skatteforvaltningen v. Xiphias     Richard Markowitz,
   LLC Pension Plan, John van         John van
   Merkensteijn, and Richard          Merkensteijn, and
   Markowitz, Case No. 19-cv-         Xiphias LLC Pension
   01924-LAK (S.D.N.Y.)               Plan
50 Skatteforvaltningen v. John van    Richard Markowitz,      2321Capital Pension Plan,
   Merkensteijn, Richard Markowitz,   John van                Bowline Management
   Bernina Pension Plan Trust, RJM    Merkensteijn, Bernina   Pension Plan, Clove
   Capital Pension Plan Trust,        Pension Plan Trust,     Pension Plan, Davin
   2321Capital Pension Plan,          and RJM Capital         Investments Pension Plan,
   Bowline Management Pension         Pension Plan Trust      Delvian LLC Pension Plan,
   Plan, California Catalog                                   DFL Investments Pension
   Company Pension Plan                                       Plan, Laegeler Asset
   (previously voluntarily dismissed),                        Management Pension Plan,
   Clove Pension Plan, Davin                                  Lion Advisory Inc. Pension
   Investments Pension Plan, Delvian                          Plan, Mill River Capital
   LLC Pension Plan, DFL                                      Management Pension Plan,
   Investments Pension Plan,                                  Next Level Pension Plan,
   Laegeler Asset Management                                  Rajan Investments LLC
   Pension Plan, Lion Advisory Inc.                           Pension Plan, Spirit on the
   Pension Plan, Mill River Capital                           Water Pension Plan, and
   Management Pension Plan, Next                              Traden Investments
   Level Pension Plan, Rajan                                  Pension Plan
   Investments LLC Pension Plan,
   Spirit on the Water Pension Plan,
   and Traden Investments Pension
   Plan, Case No. 19-cv-10713-LAK
   (S.D.N.Y.)
51 Skatteforvaltningen v. Michael      Michael Ben-Jacob
   Ben-Jacob, Case No. 21-cv-
   05339-LAK (S.D.N.Y.)




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